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Case 2:92-cr-20106-SH|\/| Document 73 Filed 07/06/05 Page 1 of 2 Pag_e|D 10

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IN THE UNITBD sTATES DISTRIcT coURT
FOR THE wEsTERN DISTRICT ca TENNESSEE 05~“”.'6 PH |*hS

wEsTERN DIvISION
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UNITED STATES OF AMERICA *
Plaintiff * g y
, * § ilf"!. :£M
vs. * CR. I\TO. 2:92-20106-Ol-Ma
'k
KEVIN WILHI'I'E *
*

Def endant .

 

ORDER HOLDING PROBA"I‘IONER FCJR REVOCATION I'IEARING

 

On June 23, 2005, KEVIN WILHITE appeared before on a charge
of violation of the terms and conditions of probation/supervised
release in this matter. The defendant was advised of his/her
rights under FRCrP 5 and 32.l(a] (l).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant KEVIN WILHI'I‘E is held to a final
revocation hearing, to be set on notice from the United States
Dietric:t Cou.rt and in accordance with the provisions of Rule
32.l(a)(2). Federal Rules of Criminal Prooedure.

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IT rs so oaDERED obie _¢§;_ day of , 2005.

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UNITED STATES MAGI§TRATE JUDGE

This document entered on the docket sheet ln omplia ca
with Hu1e 55 and/or 32(b) FHCrP on 12 "ZZ ad

 

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This notice confirms a copy ofthe document docketed as number 73 in
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Honorable Samuel Mays
US DISTRICT COURT

